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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 0:20-CV-61872-SINGHAL/HUNT

  ALAN DERSHOWITZ,

                Plaintiff,

  vs.

  CABLE NEWS NETWORK, INC.,

              Defendant.
  ______________________________/

        NOTICE OF FILING INDEX OF EXHIBITS IN PLAINTIFF’S RESPONSE TO
               DEFENDANT’S STATEMENT OF UNDISPUTED FACTS

         Pursuant to the Court’s Order (ECF No. 34 at 4-5), Plaintiff files the following index of the

  exhibits cited in his Response and Counter Statement to Defendant’s Statement of Undisputed

  Material Facts (ECF No. 253):

   Plaintiff’s                                                                              Docket
                                      Description of Exhibit
    Exhibit                                                                                 Entry
       A       1/29/20 Email from Sam Fossum to CNN Political Plus                          253-1
       B       Declaration of Alan Dershowitz                                               253-2
       C       1/29/20 Email from Meredith Richards regarding 4:30 p.m. meeting
                                                                                             253-3
               with Jeff Zucker
       D       1/29/20 Emails between Jeff Zucker and Gloria Borger regarding
                                                                                             253-4
               Dershowitz
       E       1/29/20 Email from Amanda Wills regarding 4:30 p.m. meeting with
                                                                                             253-5
               Jeff Zucker
       F       1/29/20 Email from Pat Wiedenkeller to Paul Begala                            253-6
       G       1/29/20 Email from Jennifer Griffiths regarding “Full Circle Research /
                                                                                             253-7
               Impeachment trial latest”
       H       1/29/20 Email from Paulina Gigante regarding “ANCHOR
                                                                                             253-8
               ASSIGNMENTS AND LATEST ANGLES”
       I       Screenshots from CNN’s CMS system                                             253-9
       J       1/29/20 Slack messages channel regarding video programming                   253-10
       K       Contributor Agreement between CNN and Paul Begala                            253-11
       L       1/29/20 Email from Paul Begala to Pat Wiedenkeller with draft
                                                                                            253-12
               commentary



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      M      1/29/20 Email chain regarding Paul Begala’s draft commentary          253-13
      N      1/29/20 Email from Pat Wiedenkeller to Paul Begala                    253-14
      O      1/29/20 Email chain regarding Paul Begala’s draft commentary          253-15
      P      1/29/20 Email from Pat Wiedenkeller to Paul Begala                    253-16
      Q      1/29/20 Slack messages between Brett Harman and Maryam Mohamed        253-17
      R      Contributor’s Agreement between CNN and Joe Lockhart                  253-18
      S      1/29/20 Email from Katie Carver regarding Joe Lockhart’s tweets       253-19
      T      Employment Agreement between CNN and Anderson Cooper                  253-20
      U      1/29/20 Email chain with Chuck Hadad regarding Full Circle            253-21
      V      1/29/20 Email from John Berman to Melanie Moffitt regarding “Dersh-
                                                                                   253-22
             o-nuts”
      W      Online professional biography of Katherine M. Bolger, Esq.            253-23
      X      Employment Agreement between CNN and John Berman                      253-24
      Y      2/3/20 Emails to Dershowitz regarding CNN                             253-25
       Z     Compilation of press regarding Dershowitz with hyperlinks to pieces   253-26
      AA     Compilation of Twitter tweets regarding Dershowitz                    253-27
      BB     Society of Professional Journalists Code of Ethics                    253-28
      CC     Contributor’s Agreement between CNN and Anne Milgram                  253-29
      DD     1/29/20 3:00 p.m. Article by Nikki Carvajal regarding Dershowitz      253-30

                                   Respectfully submitted,

                                   By: /s/ Mark A. Schweikert
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                                   and

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                                   Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on November 13, 2022, I electronically filed the foregoing document

  with the Clerk of Court using the CM/ECF filing system, and that the foregoing document was

  served on all counsel of record via transmission of the Notice of Electronic Filing generated by the

  Court’s CM/ECF system.

                                                                    /s/ Mark A. Schweikert________




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